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                              United States District Court
                                        for the
                              Southern District of Florida

  Theodore D’Apuzzo, P.A., Plaintiff,     )
                                          )
  v.                                      )
                                            Civil Action No. 16-62769-Civ-Scola
                                          )
  United States of America,               )
  Defendant.                              )

                     Order on Motion for Class Certification
        This matter is before the Court on Plaintiff’s motion for class certification
  (ECF No. 37). The Defendant United States of America opposes the Motion (ECF
  No. 40, 45). As explained more fully below, the Court concludes that individual
  issues of fact will predominate over common issues of fact, and the proposed
  class of plaintiffs is not ascertainable. As such, the Court denies the Plaintiff’s
  motion for class certification (ECF No. 37).
         A. Background
         Pursuant to the E-Government Act of 2002, the chief judge of each
  judicial district is tasked with establishing and maintaining a system providing
  for “[a]ccess to the substance of all written opinions issued by the court,
  regardless of whether such opinions are to be published in the official reporter .
  . . .” Pub. L. No. 107-347, § 205(a)(5). The Public Access to Court Electronic
  Records system (“PACER”) is an electronic system that allows registered users
  to access judicial records online from federal appellate, district, and
  bankruptcy courts. In order to provide electronic public access to court
  records, the courts charge certain fees, which are set forth in the Electronic
  Public Access Fee Schedule. The Fee Schedule specifies that “[n]o fee is
  charged for access to judicial opinions.”1 (ECF No. 40-3 at 2.) The E-
  Government Act does not contain a definition of the term “opinion,” however,
  the Administrative Office of the United States Courts (“AO”) issued a
  memorandum in 2004, providing guidance with respect to definition of “written
  opinion.” (See ECF No. 40-5, at 3.) The AO memorandum provides that “[f]or
  the purposes of the E-Government Act of 2002, . . . ‘written opinion’ is defined
  as, ‘any document issued by a judge or judges of the court, sitting in that
  capacity, that sets forth a reasoned explanation for a court’s decision.” (Id.) The
  1The Electronic Public Access Fee Schedule is available on the PACER website,
  www.pacer.gov.
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  memorandum provides in addition that “[t]he responsibility for determining
  which documents meet this definition rests with the authoring judge, and the
  determination should be made at the time the document is filed.” (Id.)
         The Plaintiff contends that notwithstanding the E-Government Act’s
  mandate, and the guidance provided with respect to what constitutes a “written
  opinion,” PACER routinely improperly charges for court documents—including
  documents from courts in this district—that constitute judicial opinions. The
  Plaintiff purports to represent a class of PACER users who paid to access a
  document constituting a judicial opinion, which otherwise should have been
  free. In the complaint, the Plaintiff asserts three claims against the Defendant
  for (1) breach of contract, (2) breach of the implied covenant of good faith and
  fair dealing, and (3) illegal exaction. (See Complaint, ECF No. 14.) The
  Defendant filed a motion to dismiss (ECF No. 16), which the Court denied (ECF
  No. 28).
         B. Class Certification
         The Plaintiff seeks to certify a nationwide class of PACER users, and the
  essential certification dispute is whether the class is ascertainable and
  administratively feasible, and whether the predominance and superiority
  requirements of Rule 23(b)(3) are satisfied. The Plaintiff contends that the
  official guidance and existing case management tools can be used to identify
  potential class members, and support a finding that common issues
  predominate and that the class action mechanism would be superior in this
  case. The Defendant argues that in addition to administrative limitations in
  identifying potential class members, the Plaintiff fails to identify objective
  criteria for determining whether potential class members accessed a written
  judicial opinion on PACER.
             1. Legal Standard
         Class actions are “exception[s] to the usual rule that litigation is
  conducted by and on behalf of the individual named parties only.” Comcast
  Corp. v. Behrend, 133 S. Ct. 1426, 1432 (2013). Parties seeking to certify a
  class must “affirmatively demonstrate [ ] compliance with Rule 23.” Id. Class
  certification analysis entails considering the factual and legal issues
  comprising the plaintiff’s cause of action. Rutstein v. Avis Rent-A-Car Sys., Inc.,
  211 F.3d 1228, 1234 (11th Cir. 2000).
         The decision to certify a class action is governed by Federal Rule of Civil
  Procedure 23. The “putative class must meet each of the requirements specified
  in Federal Rule of Civil Procedure 23(a), as well as at least one of the
  requirements set forth in 23(b).” Klay v. Humana, Inc., 382 F.3d 1241, 1250
  (11th Cir. 2004). The party seeking certification must demonstrate: “(1) that the
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  class is so numerous that joinder of all members is impracticable; (2) that there
  are questions of law or fact common to the class; (3) that the claims or defenses
  of the representative parties are typical of the claims or defenses of the class;
  and (4) that the representative parties will fairly and adequately protect the
  interests of the class.” Fed. R. Civ. P. 23(a).
         Where certification is sought under Rule 23(b)(3), as it is here, the
  plaintiff must show, in addition to the four requirements of Rule 23(a), that
  “the questions of law or fact common to class members predominate over any
  questions affecting only individual members, and that a class action is superior
  to other available methods for fairly and efficiently adjudicating the
  controversy.” See Fed. R. Civ. P. 23(b)(3). The “burden of proof to establish the
  propriety of class certification rests with the advocate of the class.” Vega v. T-
  Mobile USA, Inc., 564 F.3d 1256, 1265 (11th Cir. 2009). And the Court must
  conduct a “rigorous analysis” of the facts and law to determine whether the
  plaintiff has met his burden of demonstrating compliance with Rule 23. Gen.
  Tel. Co. of the S.W. v. Falcon, 457 U.S. 147, 161 (1982); see also Sacred Heart
  Health Sys., Inc. v. Humana Military Healthcare Servs., Inc., 601 F.3d 1159,
  1169 (11th Cir. 2010) (citation omitted). While the district court’s class
  certification analysis “may ‘entail some overlap with the merits of the plaintiff’s
  underlying claim,’ Rule 23 grants courts no license to engage in free-ranging
  merits inquiries at the certification stage.” See Amgen Inc. v. Conn. Ret. Plans &
  Trust Funds, 133 S. Ct. 1184, 1195 (2013) (citations omitted). Rather, “[m]erits
  questions may be considered to the extent – but only to the extent – that they
  are relevant to determining whether the Rule 23 prerequisites for class
  certification are satisfied.” See id.
            2. Analysis
         The Defendant does not dispute that the Plaintiff satisfies the
  requirements of numerosity, commonality, typicality, or adequacy under Rule
  23(a). Upon review, the Court determines that indeed these requirements are
  met in this case. However, the Court must also address the proposed class
  definition. See Jones v. Jeld-Wen, Inc., 250 F.R.D. 685, 691 (S.D. Fla. 2010)
  (Dimitrouleas, J.) (citing cases). The Plaintiff proposes certification of a class
  comprising “all PACER users who, between November 22, 2010 and November
  22, 2016, paid to access a document constituting a judicial opinion.” (See Mot.,
  ECF No. 37 at 1.) The Defendant maintains that determining class membership
  is not administratively feasible because the necessary database infrastructure
  or software capability to identify the relevant documents, and therefore class
  members, does not exist, and, in any event, identifying potential class members
  would require individual inquiries based upon the subjective definition of what
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  constitutes an opinion that should be accessible for free. The Plaintiff
  characterizes this case as involving the overarching issues of whether there is a
  breach of contractual duties owed to PACER customers, and whether the
  PACER charges for accessing judicial opinions constitute illegal exactions, and
  suggests that the Court may fashion a more appropriate class definition if it
  finds the proposed definition to be insufficient. Setting aside for the moment
  the technological concerns raised by the Defendant regarding identifying
  potential class members, the Court finds that regardless of potential class
  definition, this case is not suitable as a class action.
         While the Plaintiff meets the Rule 23(a) requirements, the Plaintiff’s
  certification argument deteriorates when the Court turns to Rule 23(b). After all
  the requirements of Rule 23(a) have been met, a court must still determine that
  both predominance and superiority are satisfied. See Fed. R. Civ. P. 23(b)(3).
  “Common issues of fact and law predominate if they have a direct impact on
  every class member’s effort to establish liability and on every class member’s
  entitlement to injunctive and monetary relief.” Klay, 382 F.3d at 1255. The
  Court’s predominance inquiry “is far more demanding than Rule 23(a)’s
  commonality requirement.” Jackson v. Motel 6 Multipurpose, Inc., 130 F.3d 999,
  1005 (11th Cir. 1997). “Predominance is lacking and certification is
  inappropriate under Rule 23(b)(3) where the case does not lend itself to
  generalized proof tending to prove or disprove the elements of plaintiffs’
  claims.” City of St. Petersburg v. Total Containment, Inc., 265 F.R.D. 630, 637
  (S.D. Fla. 2010) (Lenard, J.). Despite the Plaintiff’s contentions, neither the
  predominance nor superiority requirements have been established in this case.
         The flaw in the Plaintiff’s proposed class definition—which also
  undermines predominance in this case—is that the official guidance with
  respect to the definition of “written opinion” is inherently subjective. Therefore,
  the Plaintiff’s claims are not subject to determination with generalized proof.
  While the Plaintiff is correct that the E-Government Act mandates public
  access to the content of written opinions, and the PACER Fee Schedule
  represents that there is no fee for judicial opinions, the Act does not mandate
  free access to such opinions and is conspicuously silent regarding what
  constitutes a written opinion.2 Furthermore, the guidance specifies that the
  responsibility of making that determination rests with the authoring judge.
  Even assuming that the over 1.1 billion PACER documents over 200 court
  databases nationwide are easily searchable, scrutiny of each order not already
  designated as a freely accessible opinion under the Fee Schedule would be
  2 Certainly, the E-Government Act could have included a definition for written
  opinions, or even a list of documents, that would make the intended documents
  objectively identifiable.
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  required to determine whether, in someone other than the authoring judge’s
  view, the order fits within the definition provided by the official guidance. The
  issue of what orders constitute opinions subject to the E-Government Act and
  encompassed by the Fee Schedule is central not only to the Plaintiff’s class
  definition, but also to the Plaintiff’s causes of action, and would require
  individualized proof, precluding the ability to maintain this case as a class
  action.
         Moreover, based upon the Fee Schedule, which specifies exemptions from
  application of the fee, review of each PACER user’s account would be required
  to determine which potential class members in fact improperly paid for an
  opinion on PACER.3 As a result, individualized issues would also predominate
  over common issues in the determination of damages.
         For the same reasons, the superiority requirement is also not met in this
  case. “To determine if the superiority requirement of Rule 23(b)(3) is satisfied,
  the Court must consider the following: (A) the interest of members of the class
  in individually controlling the prosecution or defense of separate actions; (B)
  the extent and nature of the litigation concerning the controversy already
  commenced by or against members of the class; (C) the desirability or
  undesirability of concentrating the litigation of claims in the particular forum;
  and (D) the difficulties likely to be encountered in the management of a class
  action.” Jones, 250 F.R.D. at 695 (citing Fed. R. Civ. P. 23(b)(3)). In his motion,
  the Plaintiff draws on National Veterans Legal Services Program v. United
  States, 235 F. Supp. 3d 32 (D.D.C. 2017) for support. In National Veterans, the
  plaintiffs claimed that the Fee Schedule charges excessive fees, i.e. fees higher
  than necessary to cover the cost of operating PACER, in violation of the E-
  Government Act. Nat’l Veterans, 235 F. Supp. 3d at 35. The district court
  certified a class of plaintiffs defined as “[a]ll individuals and entities who have
  paid fees for the use of PACER between April 21, 2010, and April 21, 2016,
  excluding class counsel in this case and federal government entities.” Id. at 36.
  However, National Veterans is distinguishable from the case at bar because, as
  the court noted, the “plaintiffs’ theory of liability is that the fee schedule itself
  violated the E-Government Act, not that the charges to individual plaintiffs
  violated the Act when they amounted to more than the cost of distribution to
  those particular plaintiffs.” Id. at 44. In contrast, the Plaintiff here does not
  challenge the Fee Schedule itself; but rather, the application of the Fee
  Schedule to one specific category of documents, and the charges he contends
  were improperly incurred due to misidentification.
  3According to the PACER Fee Schedule, “[n]o fee is owed for electronic access to court
  data or audio files via PACER until an account holder accrues charges of more than
  $15.00 in a quarter billing cycle.” (ECF No. 40-3 at 3.)
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        Upon consideration, the Court finds that the difficulties in managing
  such a class action heavily weigh against class treatment in this case and far
  outweigh the remaining factors. Ultimately, the underlying individualized
  inquiry required in order to identify opinions in this case renders it inherently
  unmanageable as a class action.
       C. Conclusion
       Accordingly, the Plaintiff’s motion for class certification (ECF No. 37) is
  denied.
        Done and ordered at Miami, Florida, on April 12, 2018.

                                             ________________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
